UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


FULL CIRCLE UNITED, LLC,

                    Plaintiff,                                Case No: 20 Civ. 3395 (BMC)

       -against-

BAY TEK ENTERTAINMENT, INC,

                    Defendant.


BAY TEK ENTERTAINMENT, INC.,

                    Counterclaim-Plaintiff,                   REPLY DECLARATION OF
                                                              ROBERT GLUNT
       -against-

FULL CIRCLE UNITED, LLC, and ERIC PAVONY,

                   Counterclaim-Defendants.


       I, ROBERT GLUNT declare under penalty of perjury and pursuant to 28 U.S.C. § 1746

that the following is true and correct:

       1.      I am an attorney at Mandel Bhandari LLP, counsel for Plaintiff Full Circle

United, LLC.

       2.       I submit this declaration in further support of Plaintiff’s Motions in Limine. I

have personal knowledge of the facts set forth herein and, if called as a witness, I could and

would testify competently hereto.

       3.      For the Court’s convenience and to avoid unnecessary complication, this

declaration includes the three exhibits submitted in my prior declaration in addition to the

exhibits attached in support of Plaintiff’s Reply papers.
       4.      Attached hereto as Exhibit A is a true and accurate copy of the transcript of the

February 7, 2025 Pretrial Conference in this action.

       5.      Attached hereto as Exhibit B is a true and accurate copy of excepts of the June 14,

2022 deposition of Eric Pavony.

       6.      Attached hereto as Exhibit C are true and accurate copies of excepts of certain

depositions in this action.

       7.      Attached hereto as Exhibit D are true and accurate copies of excepts of the July

12, 2022 deposition of Larry Treankler in this action.

       8.      Attached hereto as Exhibit E are true and accurate copies of Defendant Bay Tek’s

Rule 26(a) Initial Disclosures in this action.

       9.      Attached hereto as Exhibit F are true and accurate copies of excepts of certain

depositions in this action in which Defendant or its counsel describes Skee-BallÒ as a game.

       10.     Attached hereto as Exhibit G is a true and accurate copy of the Settlement

Agreement between SBI and FCU that both sides have designated as an exhibit in this action.

       11.     I respectfully request that the Court grant Plaintiff’s motions in limine.

Dated: March 21, 2025
       New York New York
                                                       /s/ Robert Glunt
                                                       Robert Glunt




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